      Case:07-11796-SDB Doc#:48 Filed:03/06/08 Entered:03/06/08 15:08:12                                       Page:1 of 2
                                           United States Bankruptcy Court
                                         For the Southern District of Georgia


In the matter of: Debtor
KENNETH V HAMILTON & ELEANOR J HAMILTON
1067 EARLE ST, NW
THOMSON, GA 30824-7262
                                     Case No:
                                     07-11796
                                                                                                                         Page 1 of 2

                                          FINAL REPORT AND ACCOUNT

                                             Report Printed March 6, 2008

F-DISMISSED BEFORE CONFIRMATION               SS #1: XXX-XX-0320
Attorney: JAMES T WILSON JR         SS #2: XXX-XX-9579
Plan Filed Date: Oct 1, 2007 Plan Confirmed:      Case Concluded: Nov 27, 2007

Your Trustee hereby certifies that this case has been fully administered, that a detailed record of all receipts and
disbursements has been maintained; copies are attached to the original filed with the Clerk and incorporated by
reference in this report.

RECEIPTS: Amount paid to the Trustee by or for the Debtor for benefit of Creditors.

Creditor                                       Clm #    Class   Claim            Debt          Total          Balance
Name                                                            Amount           Allowed       Paid           Due
JAMES T WILSON JR                                  999 ATY           $2,500.00     $2,500.00            $0.00     $2,500.00
CLERK OF U S BANKRUPTCY COURT                      991 FFE            $235.00       $235.00             $0.00                $235.00
CLERK U S BANKRUPTCY COURT                         994 ADM             $39.00        $39.00             $0.00                  $39.00
DALES AUTO SALES                                  001.0 SEC          $3,736.87     $3,736.87            $0.00              $3,736.87
DALES AUTO SALES                                  001.1 OTH           $250.00          $0.00            $0.00                    $0.00
G M A C MORTGAGE CORP                             002.0 DIR PAY    $64,018.40          $0.00            $0.00                    $0.00
G M A C MORTGAGE CORP                             002.1 ARR        $27,611.96     $27,611.96            $0.00            $27,611.96
TAX COMMISIONER MCDUFFIE CTY                      003.0 PRI           $350.25       $350.25             $0.00                $350.25
B LINE                                            004.0 UNS           $215.31       $215.31             $0.00                $215.31
TITLE PAWN OF AUGUSTA                             005.0 SEC           $440.00       $440.00             $0.00                $440.00
W S BADCOCK CORP                                  006.0 SEC           $746.96       $746.96             $0.00                $746.96
TOM & FRANCES TILLMAN                             007.0 SEC          $4,110.00     $4,110.00            $0.00              $4,110.00
PREMIER BANKCARD CHARTER                          008.0 UNS           $455.46       $455.46             $0.00                $455.46
JEFFERSON CAPITAL SYSTEMS                         009.0 UNS           $190.03       $190.03             $0.00                $190.03
L V N V FUNDING                                   010.0 UNS           $426.97       $426.97             $0.00                $426.97
GEORGIA POWER CO                                  011.0 UNS           $632.52       $632.52             $0.00                $632.52
JEFFERSON CAPITAL SYSTEMS                         012.0 UNS           $714.85       $714.85             $0.00                $714.85
cc:     JAMES T WILSON JR                                                           PAGE 1 - CONTINUED ON NEXT PAGE
        ATTORNEY AT LAW
        P O BOX 2112
        AUGUSTA, GA 30903-2112

                                                                                                       Letter- Debtor: Final Report 3/ 6/08 CR
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Creditor                                       Clm #     Class    Claim           Debt          Total          Balance
Name                                                              Amount          Allowed       Paid           Due
JEFFERSON CAPITAL SYSTEMS                           013.0 UNS           $565.63       $565.63            $0.00       $565.63
SALUTE VISA GOLD SP                                 014.0 UNS           $526.96      $526.96             $0.00                $526.96
TRI CAP INVESTMENT PARTNERS                         015.0 UNS           $790.15      $790.15             $0.00                $790.15
CHAPTER 13 TRUSTEE FEE                                   TRU                        $3,333.50            $0.00              $3,333.50

             Secured        Priority    Unsecured        Admin         Attorney         Other
Debt          $0.00          $0.00       $532.96        $274.00       $2,500.00         $0.00                               Total Paid
Paid          $0.00          $0.00         $0.00          $0.00           $0.00         $0.00                                     $0.00



* RAP (Reduced Amount to Paid)

WHEREFORE, your Petitioner prays that a Final Decree be entered discharging your petitioner as Trustee and
releasing Trustee's surety from all liability on account of the proceedings; closing the estate, and for such other
relief as is just.



                                                                       /s/ Barnee C. Baxter
                                                                       Barnee C. Baxter, Trustee




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                                                                                                        Letter- Debtor: Final Report 3/ 6/08 CR
